      Case 9:21-cv-00299-MAC-ZJH Document 1 Filed 12/16/21 Page 1 of 27 PageID #: 1
                                  Polk , i £ 5                                    ni
                                 IN THE UNITED STATES DISTRICT COURT                           to ! 3rd S
                              FOR THE £QS £M                     DISTRICT OF TEXAS '1 n.-A f
                                                                 DIVISION

                                Form To Be Used By A Prisoner in Filing a Complaint
                                    Under the Civil Rights Act, 42 U.S.C. § 1983

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                                                                                                     /a tt£ PT(= D
Plaintiffs name and ID Number                           9:21cv299 RC/ZH                     M G/J E wcU
                                                                                                         OR
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                                                                         C SENO. AVlSfi
                                                                                     (Clerk wjfll assign the number)



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                                     I STRUCTIONS - RE D CAREFULLY
NOTICE:

 Your compl i t is subject to dismissal unless it conforms to these instructions and this form.

1. To start an action you must file an original and one copy of your complaint with the court. You should keep a
copy of the complaint for your own records.

2. Your complaint must be legibly handwritten, in ink, or typewritten. You, the plaintiff, must sign and declare
under penalty of perjury that the facts are correct. If you need additional space, DO NOT USE THE EVERSE
SIDE OR BACK SIDE OF ANY PAGE. ATTACH AN ADDITIONAL BLANK PAGE AND WRITE ON IT.

3. You must file a sep rate complaint for each claim you have unless the various clai s are all related to the same
incident or issue or are all against the same defend nt. Rule 18, Federal Rules of Civil Procedure. Make a short and
plain statement of your claim, Rule 8, Federal Rules of Civil Procedure.

4. When these forms are completed, mail the original and one copy to the Clerk of the United States Court for the
appropriate District of Texas in the Division where one or more named defendants are located, or where the incident
  iving rise to your claim for relief occurred. The list labeled as VENUE LIST is posted in your unit law library.
It is a list of the Texas prison units indicating the appropriate District Court, the Division and an address list of the
Divisional Clerks.

                                                            1
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FILING FEE AND IN FORMA PAUPERIS

1. In order for your complaint to be filed, it must be accompanied by the filing fee of $ 150.00.

2. If you do not have the necessary funds to pay the filing fee in lull at this ti e, you may request permission to
proceed in forma pauperis. In this event you must complete the application to proceed in forma paup ris (IFP),
setting forth information to establish your inability to prepay the fees and costs or give security therefor. You must
also include a current six (6) month history of your In ate Trust Account. You can acquire the application to
proceed IFP and appropri te In ate Account Certificate from the law library at your prison unit.

3. 28 U.S.C. 1915, as amended by the Prison Litigation Reform Act of 1995 (PLRA), provides, ...if a prisoner
brings a civil action or files an appeal in forma pauperis, the prisoner shall be required to pay the full amount of a
filing fee. Thus, the Court is required to assess and, when funds exist, collect, the entire filin fee or an initial partial
filing fee and monthly installments until the entire amount of the filing fee has been paid by the prisoner. If you
submit the application to proceed forma pauperis, the Court will apply 28 U.S.C. 1915 and, if appropriate, assess
and collect the entire filing fee or an initial partial filing fee, then monthly installments from your Inmate Account,
until the entire $150 filing fee has been paid.

4. If you intend to seek in forma pauperis status, then do not send your complaint without an Application to
Proceed IFP, and the Certificate of In ate Trust Account. Complete all the essential paperwork before submitting
it to the Court.

CHANGE OF ADDRESS

    It is your responsibility to inform the Court of any change of address and its effective date. Such notice should
be marked NOTICE TO THE COUR OF CHANGE OF ADDRESS and shall not include any motion (s) for
any other relief. Failure to file a NOTICE TO THE COU T OF CHANGE OF ADDRESS may result in the
dismissal of your complaint pursuant to Rule 41(b), Federal Rules of Civil Procedure.

I. PREVIOUS LAWSUITS:

       A. Have you filed any other lawsuits in state or federal court relating to your
            imprisonment?                                                      YES                           NO
       B.   If your answer to "A" is "yes," describe each lawsuit in the s ace below. (If there is more than one
            lawsuit, describe the additional lawsuits on another piece of paper, giving the same information.)


            1. Approximate date of filing lawsuit:_
            2. Parties to previous lawsuft

                Plaintif s)                         \
                Defend nt(s)                                            \ I / / \
            3. Court: (If federal, name the district; Lf state/name the/ounty.)\
            4. Docket Number: [ \ j / / \
            5. Name of judge to who case was assi n/d: / \
            6. Disposition: (Was the case dismissed, appealed, till pending?)

            7. Approximate date of disposition: /

                                                            2
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 OPEN


               Assigned to:


 11-17-202112:59 PM
                                                          Type: Medical Request
 cough drops....please!

 Inmate
 Bart Moore


 Description
 i need to get some cough drops for sore throat/Zcough.

 Cell Location
 243-10




ACTIVITY


          Aurora Orosco (Employee) Left A Comment
          11-17-2021 03:38 PM

          WILL SEND SOME



          Aurora Orosco (Em loyee) Viewed This Task
          11-17-2021 03:38 P




          Bart Moore (Inmate) Created this task
          11-17-202112:59 PM




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II.    PLACE OF PRESENT CONFINEMENT: H. AdUl                                                           7 35_L

III.   EXHAUSTION OF GRIEVANCE PROCEDURES: hu UH lAo
       Have you exhausted both steps of the grievance procedure in this institution? / YES NO
       Attach a copy of the(§tep_2 grievancejwith the response supplied by the rison system.
                                                 WaIWA ft ( fc C l'JcuK
IV.    PARTIES TO THIS SUIT:
       A. Name and address of                               laintiff: k         ftC     f
            \To3 k HW-to A\)F Lh inaStou                                               / ol
           . , , kiwn<y i,Tx- -msi/
       B. Full name of each defendant, his official position, his place of
          employment, and his full mailing address.


          Defendant #1: U-WkJbwS ft CiouiN sHi -C P WV f Ui kwAn -
          kiAlUvyW~T? T5SI iAN X' UusLiM otmaft JfiWX (mhan n .
          Briefly describe the act(s) or omission(s) of this defendant which you cl imed harmed you.


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          DefendanF?77ft[ftlQWftrMnftftZ roy i'T5 ftW WiEfth I L. Tl nS ftn , K..
          Fob , U bft, ShvAbft. dbsKufttcn d                                                           aftcm
          Briefly describe the act(s) or omission(s) ofihis defendant which you claimed harmed you.
           o ftuftft e nftbuftn                Qft nb ftniftcnca ftatbA upBAJftkftAmft
          Defendant#3:                                                          =
                              /u A cft i
          Briefly describe the act(s) or omission(s) of this defendant which you claimed banned you.
          W E ft An Uf (Al ( ft En-kftfi ML Afto (ftu S uck TnC klA i
          Defendant #4:                                                                                         -




                                                                             ohMift i'LlN i 'A- kt?
         Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.
          ft                J'           ¦      ¦      n                     ,r,      7


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V. STATEMENT OF CLAIM:
        State here in a short and plain statement the facts of your case, that is, what happened, where did it happen,
        when did it happen, and who was involved. Describe how each defendant is involved. You need not give any
        legal arguments or cite any cases or statutes. If you intend to allege a number of related claims, number and set
        forth each claim in a separate paragraph. Attach extra pa es if necessary, but remember that the complaint must
       be stated briefly and concisely. IF YOU VIOLATE THIS RULE, THE COURT MAY STRIKE YOUR
       COMPLAINT.




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VI. X RELIEF: S
   |   or statutes.



                                                                                                    , I U



VII.
       A. State, in complete form, all names you have ever used or been known by including any and all aliases:



       B. List all TDCJ-ID identification numbers ou have ever been assigned and all other state or federal prison
           or FBI numbers ever assigned to you, ifknown to you. , <I 9                       , .



VIII. SANCTIONS:
           Have you been sanctioned by any court as result of any lawsuit you have filed?                   YES      NO
           If your answer is "yes", ive the following information for every lawsuit in which
           sanctions were imposed? (If more than one, use another piece of paper and answer
           the same questions.)

                Court that imposed sanctions (if federal, give the district and division):
           2.   Case Number: N m
           3.   Approximate date sanctions were imposed: /A
           4.   Have the sanctions been lifted or otherwise satisfie ?                                      YES      nO

                                                            4
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        C. Has any court ever warned or notified you that sanctions could be imposed?                     YES NO
       D. If your answer is "yes", give the following information for every l wsuit in which
           warning was imposed. (If more than one, use another piece of paper and answer
           the same questions.)


           1. Court that imposed warnin (if federal, give the district and division):

           2. Case Nu ber:


           3. Approximate date warnings were imposed:.




Executed                                                                    on:
               /DATE

                                                                             (Signature of pl intiff)


PLAINTIFF S DECLARATIONS

       1. I declare under penalty of perjury all facts presented in this complaint and attachments thereto are true
           and correct.
       2. I understand if I am released or transferred, it is my responsibility to keep the Court informed of my current
            mailing address and failure to do so may result in the dis issal of this lawsuit.
       3. I understand that I must exhaust all available administrative remedies prior to filin this lawsuit.
       4. I understand I am prohibited from bringing an in forma pauperis lawsuit if I have brought three or more civil
            actions in a Court of the United States while incarcerated or detained in any facility, which lawsuits were
            dismissed on the ground they were frivolous, malicious, or failed to state a claim upon which relief m y be
            gr nted, unless I am under imminent danger of serious physical injury.
       5. I understand even if I am allowed to proceed without prepayment of costs, I am responsible for the entire
            $150 filing fee and costs assessed by the Court, which shall be deducted in accordance with the law from
            my inmate account by my custodian until the filing fee is paid.


Signed this         • i     u     day of
                      (Day) (month) (year)




                                                                             (Signature of plaintiff)

WARNING: The Plaintiff is hereby advised any false or deliberately misleading information provided in
response to the following questions ill result in the imposition of sanctions. The sanctions the Court may
impose include, but are not limited to monetary sanctions and/or the dismissal of this action ith prejudice.



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      OPEN


                    Assig ed to:


      12-08-2021                            06:48              PM
                                                                                                 Type: Medical Request
      problems/w/my eyes as diagnosed bypR.RAZ UAN

      Inmate
      Bart Moore                                      KjTUK'JiAi                         Jicj          Cij Oo             ¬


      NEED TO GET/EYE DROPS/GENTAMIICI .0.3%QJTMENTQ,5 INCH INTQTHE EYE(S) EVERYJ HOURS..MOXIFLOXI 0.5%
      (Viqamox)Drops 1 Drop into the(s) 3 times per day ordered R.DELOACff GEORGE LEE/.I WHICH I HAVE BEEN
      DENIED P OPR/ADEQUATE MEDICAL ATTENTON.DELIBERJELY BY POLK COUNTY JAIL MEDICAL STAFF..AND AUORA
      OROSCO...!!                                                                ¦                      ¦      -         ¦-   -


                             -\       -r      ,     2      f.     J-        1:        .J        -    'J       >        ilJ    W
      Cell Location
      243-10
                           i ote -fte. Q- moJag iciftACn t e D psX oya I                                                      W - o ch

     activity

               Aurora Orosco (Employee) Left A Commen-
               12-09-202110:33 AM

               I WILL SEND EYE DROPS



               Aurora Orosco (Employee) Viewed This Task
               12-09-2021 10:33 M




               Bart Moore (Inmate) Left a Comment
we             12-09-2021 10:32 M

               I NEED THESE EYE-DROPS THANXI!



               Aurora Orosco (E ployee) Left A Co ent
               12-09-2021 10:31 A




               Aurora Orosco (Em loyee) Left A Comment
               12-09-202110:31 AM

               HO     EDICATION IS WHAT YOU HAD AT HOME NOT A SCRIPT



               Aurora Orosco (Employ ) Viewed i his Task
               12-09-202110:31 AM




               Bart Moore (Inmate) Left a Com ent
               12-09-202110:29 AM


                      WHEN WERE THESE PRESCRIBED?? CAN PROVIDE EYE DROPS BUT USUALLY FOR THOSE EYE DROPS YOU WOULD NEED A SC IPT j




               moore.bart -mrn;0010327153-tueday,may 4,2021@4;01 am see page#3/29 medical-records./home medications.

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